                                                          Case 3:15-bk-01843-JAF                   Doc 27 1 Filed 01/30/19
                                                                                                     FORM                                    Page 1 of 5
                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                     Page:       1
                                                                                           ASSET CASES
Case No:           15-01843       JAF    Judge: JERRY A. FUNK                                                                        Trustee Name:                     Doreen Abbott, Bankruptcy Trustee
Case Name:         ARLEDGE, STEVEN                                                                                                  Date Filed (f) or Converted (c):   04/23/15 (f)
                   ARLEDGE, KELLY                                                                                                   341(a) Meeting Date:               06/12/15
For Period Ending: 12/31/18                                                                                                         Claims Bar Date:                   09/10/15



                                     1                                              2                          3                         4                         5                                 6
                                                                                                      Estimated Net Value
                                                                                Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                 Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                        Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. REAL PROPERTY                                                                  99,000.00                             0.00                                               0.00                  FA
     Real property located at: 1004 Marsh Cove Court Ponte Vedra Beach,
     FL 32082 TO BE SURRENDERED
 2. REAL PROPERTY                                                                  89,735.91                             0.00                                               0.00                  FA
     1/3rd interest in homestead property located at: 12584 Masters Ridge
     Drive Jacksonville, FL 32225 (Mr. Arledge's parents, Ronald & Ophelia
     Arledge, are also on the deed to the property; Mortgage is in Ronald's
     name; Ronald Arledge maintains mortgage payments on property)
 3. FINANCIAL ACCOUNTS                                                                    0.00                           0.00                                               0.00                  FA
     Bank of America checking account [ending in 7411] - $0.00 (account
     frozen due to garnishment)
 4. FINANCIAL ACCOUNTS                                                                  890.00                           0.00                                               0.00                  FA
     Regions Bank checking account [ending in 8848] - $890.00
 5. FINANCIAL ACCOUNTS                                                                    0.00                           0.00                                               0.00                  FA
     Bank of America savings account [ending in 1509] - $0.00 (account
     frozen due to garnishment)
 6. FINANCIAL ACCOUNTS                                                                    0.00                           0.00                                               0.00                  FA
     Bank of America IL UTMA minor savings account [ending in 4426] -
     $0.00 [Debtor Kelly Arledge is custodian of account for minor
     daughter]
 7. HOUSEHOLD GOODS                                                                 1,482.00                             0.00                                               0.00                  FA
     Living Room carpet/rugs - $30 sofa & rocking chair - $15 desk - $25 3
     lamps - $12 pictures/mirrors - $100 window coverings - $5 TV & Stereo
     - $75 2 side tables - $10 Kitchen fridge - $50 small appliances - $40
     cookware - $50 dishes & utensils - $20 seating - $40 shelf - $25 Dining
     Room table & 3 chairs - $40 buffet & sideboard with doll house - $20
     china/glassware - $70 mirror - $15 Bedrooms beds - $135 bedding - $20




LFORM1                                                                                                                                                                                                             Ver: 21.00a
                                                            Case 3:15-bk-01843-JAF                   Doc 27 1 Filed 01/30/19
                                                                                                       FORM                                    Page 2 of 5
                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                     Page:        2
                                                                                             ASSET CASES
Case No:             15-01843      JAF    Judge: JERRY A. FUNK                                                                         Trustee Name:                     Doreen Abbott, Bankruptcy Trustee
Case Name:           ARLEDGE, STEVEN                                                                                                  Date Filed (f) or Converted (c):   04/23/15 (f)
                     ARLEDGE, KELLY                                                                                                   341(a) Meeting Date:               06/12/15
                                                                                                                                      Claims Bar Date:                   09/10/15



                                      1                                               2                          3                         4                         5                                 6
                                                                                                        Estimated Net Value
                                                                                  Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                   Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                          Values                and Other Costs)          OA=554(a) Abandon             the Estate

     2 dressers & 1 tall chest of drawers - $110 5 pictures - $25 2 TVs - $100
     computer - $25 2 side tables - $30 Family Room 2 chairs - $10 side
     table - $5 TV - $50 gun cabinet - $40 Garage/Shed charcoal grill - $20 6
     chairs & 2 tables - $90 golf clubs/fishing equipment/bikes - $105
 8. WEARING APPAREL                                                                        75.00                           0.00                                               0.00                  FA
     used clothing
 9. FURS AND JEWELRY                                                                      100.00                           0.00                                               0.00                  FA
     wedding bands
 10. FIREARMS AND HOBBY EQUIPMENT                                                         600.00                           0.00                                               0.00                  FA
     Rueger mini 14 Rueger 1022 Rueger GP100 Mossberg shotgun
     single-barrell shotgun Derringer 22
 11. INSURANCE POLICIES                                                                     0.00                           0.00                                               0.00                  FA
     term life insurance with employer DB - $10K
 12. PERSONAL INJURY CLAIM                                                            Unknown                         5,000.00                                                0.00                         5,000.00
     pending lawsuit against State Farm Insurance & Jonathan Hughes Duval
     County Case No. 2011-CA-006256 Debtors represented by McGrath
     Gibson
     ESTIMATED TRUSTEE VALUE ONLY; NOT TO BE USED FOR
     SETTLEMENT PURPOSES
     ACTUALLY TWO CLAIMS - 8/10/07 AND 11/5/07
 13. VEHICLES                                                                         2,500.00                        1,500.00                                           1,500.00                   FA
     1999 BMW 323 Mileage: 194K+ *Vehicle has been in several accidents
     ESTIMATED TRUSTEE VALUE ONLY; NOT TO BE USED FOR
     SETTLEMENT PURPOSES
 14. VEHICLES                                                                         2,750.00                        1,500.00                                           1,000.00                   FA
     2004 Chevrolet Cavalier Mileage: 109K+
     ESTIMATED TRUSTEE VALUE ONLY; NOT TO BE USED FOR




LFORM1                                                                                                                                                                                                                Ver: 21.00a
                                                             Case 3:15-bk-01843-JAF                         Doc 27 1 Filed 01/30/19
                                                                                                              FORM                                      Page 3 of 5
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:        3
                                                                                               ASSET CASES
Case No:             15-01843       JAF    Judge: JERRY A. FUNK                                                                                 Trustee Name:                     Doreen Abbott, Bankruptcy Trustee
Case Name:           ARLEDGE, STEVEN                                                                                                           Date Filed (f) or Converted (c):   04/23/15 (f)
                     ARLEDGE, KELLY                                                                                                            341(a) Meeting Date:               06/12/15
                                                                                                                                               Claims Bar Date:                   09/10/15



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

     SETTLEMENT PURPOSES

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $197,132.91                          $8,000.00                                           $2,500.00                        $5,000.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   NO ATTORNEY EMPLOYED YET
   PENDING PERSONAL INJURY CLAIM; ACTUALLY TWO CLAIMS - 8/10/07 AND 11/5/07
   LETTER REQUESTING COPY OF 2014 TAX RETURN SENT 4/30/15
   OBJECTIONS TO EXEMPTIONS TO COURT 7/9/15
   PROPOSED DECLARATION TO BRADLEY SOPOTNICK AS SPECIAL ATTORNEY SENT 11/24/15
   FOLLOW UP EMAIL TO ATTORNEY SOPOTNICK RE RETURN OF DECLARATION 1/19/16
   CONSENT ORDER FOR $2,500 LUMP SUM WITHIN 90 DAYS SIGNED 3/2/16
   NOTICE OF PRIVATE SALE SERVED 1/31/17
   VARIOUS CHANGES OF ATTORNEYS IN PI CASE
   ORDER EMPLOYING M. BRAD GIBSON OF MCGRATH GIBSON TO PURSUE PERSONAL INJURY CLAIMS SIGNED 12/5/18


   Initial Projected Date of Final Report (TFR): 06/01/17           Current Projected Date of Final Report (TFR): 09/01/19




LFORM1                                                                                                                                                                                                                         Ver: 21.00a
                                                 Case 3:15-bk-01843-JAF                  Doc 27       Filed 01/30/19                Page 4 of 5
                                                                                          FORM 2                                                                                                     Page:    1
                                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           15-01843 -JAF                                                                                           Trustee Name:                      Doreen Abbott, Bankruptcy Trustee
  Case Name:         ARLEDGE, STEVEN                                                                                         Bank Name:                         BOK Financial
                     ARLEDGE, KELLY                                                                                          Account Number / CD #:             *******4296 Checking Account
  Taxpayer ID No:    *******9632
  For Period Ending: 12/31/18                                                                                                Blanket Bond (per case limit):     $ 23,516,752.00
                                                                                                                             Separate Bond (if applicable):


           1          2                          3                                               4                                                       5                        6                      7
    Transaction   Check or                                                                                                       Uniform                                                             Account / CD
       Date       Reference            Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)         Disbursements ($)            Balance ($)
                                                                            BALANCE FORWARD                                                                                                                      0.00
       05/31/16               STEVEN ARLEDGE                                EXTENDED SALE AGREEMENT (DOC. #19)                    1129-000                    2,500.00                                       2,500.00
                              KELLY ARLEDGE
                              12584 MASTERS RIDGE DRIVE
                              JACKSONVILLE, FL 32225
       05/31/16      13         Asset Sales Memo:                           VEHICLES $1,500.00                                                                                                               2,500.00
       05/31/16      14         Asset Sales Memo:                           VEHICLES $1,000.00                                                                                                               2,500.00
       06/30/16               Bank of Kansas City                           BANK SERVICE FEE                                      2600-000                                               10.00               2,490.00
       07/29/16               Bank of Kansas City                           BANK SERVICE FEE                                      2600-000                                               10.00               2,480.00
       08/31/16               Bank of Kansas City                           BANK SERVICE FEE                                      2600-000                                               10.00               2,470.00
       09/30/16               Bank of Kansas City                           BANK SERVICE FEE                                      2600-000                                               10.00               2,460.00
       10/31/16               Bank of Kansas City                           BANK SERVICE FEE                                      2600-000                                               10.00               2,450.00
       11/30/16               Bank of Kansas City                           BANK SERVICE FEE                                      2600-000                                               10.00               2,440.00
       12/30/16               Bank of Kansas City                           BANK SERVICE FEE                                      2600-000                                               10.00               2,430.00
       09/20/18               Trsf To BofI Federal Bank                     FINAL TRANSFER                                        9999-000                                            2,430.00                   0.00




                                                                   Account *******4296                   Balance Forward                         0.00
                                                                                                     3            Deposits                   2,500.00               0         Checks                        0.00
                                                                                                     0   Interest Postings                       0.00               7 Adjustments Out                      70.00
                                                                                                                                                                    1   Transfers Out                   2,430.00
                                                                                                                  Subtotal            $      2,500.00
                                                                                                                                                                                  Total          $      2,500.00
                                                                                                     0    Adjustments In                         0.00
                                                                                                     0      Transfers In                         0.00

                                                                                                                    Total             $      2,500.00




LFORM2T4                                                                                                                                                                                                     Ver: 21.00a
                                                    Case 3:15-bk-01843-JAF                  Doc 27       Filed 01/30/19                Page 5 of 5
                                                                                             FORM 2                                                                                                    Page:    2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           15-01843 -JAF                                                                                              Trustee Name:                      Doreen Abbott, Bankruptcy Trustee
  Case Name:         ARLEDGE, STEVEN                                                                                            Bank Name:                         Axos Bank
                     ARLEDGE, KELLY                                                                                             Account Number / CD #:             *******0121 Checking Account
  Taxpayer ID No:    *******9632
  For Period Ending: 12/31/18                                                                                                   Blanket Bond (per case limit):     $ 23,516,752.00
                                                                                                                                Separate Bond (if applicable):


           1          2                             3                                               4                                                       5                          6                   7
    Transaction   Check or                                                                                                          Uniform                                                            Account / CD
       Date       Reference               Paid To / Received From                       Description Of Transaction                 Trans. Code         Deposits ($)            Disbursements ($)        Balance ($)
                                                                               BALANCE FORWARD                                                                                                                     0.00
       09/20/18               Trsf In From BOK Financial                       INITIAL WIRE TRANSFER IN                              9999-000                    2,430.00                                      2,430.00




                                                                      Account *******0121                   Balance Forward                          0.00
                                                                                                        0            Deposits                        0.00              0         Checks                         0.00
                                                                                                        0   Interest Postings                        0.00              0 Adjustments Out                        0.00
                                                                                                                                                                       0   Transfers Out                        0.00
                                                                                                                     Subtotal                $       0.00
                                                                                                                                                                                      Total            $        0.00
                                                                                                        0    Adjustments In                          0.00
                                                                                                        1      Transfers In                      2,430.00

                                                                                                                       Total             $       2,430.00



                                                                      Report Totals                         Balance Forward                          0.00
                                                                                                        3            Deposits                    2,500.00              0         Checks                        0.00
                                                                                                        0   Interest Postings                        0.00              7 Adjustments Out                      70.00
                                                                                                                                                                       1   Transfers Out                   2,430.00
                                                                                                                     Subtotal            $       2,500.00
                                                                                                                                                                                        Total      $       2,500.00
                                                                                                        0    Adjustments In                          0.00
                                                                                                        1      Transfers In                      2,430.00

                                                                                                                       Total             $       4,930.00                   Net Total Balance      $       2,430.00




LFORM2T4                                                                                                                                                                                                       Ver: 21.00a
